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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   DONNIE LEE WALTON, JR.,              )    CASE NO. CV 19-10245-DMG (PLA)
                                          )
11                   Petitioner,          )
                                          )    J U D G M E N T
12             v.                         )
                                          )
13   JAMES ROBERTSON, WARDEN,             )
                                          )
14                   Respondent.          )
                                          )
15
16        Pursuant to the Order Accepting Final Report and Adopting
17   Findings, Conclusions, and Recommendations of United States
18   Magistrate Judge,
19        IT IS ADJUDGED that the Petition is denied and this action is
20   dismissed with prejudice.
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     DATED: October 19, 2020
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25                                    DOLLY M. GEE
                                      UNITED STATES DISTRICT JUDGE
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